                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                CENTRAL DIVISION

UNITED STATES OF AMERICA,                          )
                                                   )
               Plaintiff,                          )
                                                   )
        v.                                         )      No. 08-4052-CR-C-SOW
                                                   )
TINA LOUISE McFALLS,                               )
                                                   )
               Defendant.                          )



                                           ORDER


        Before the Court is the Report and Recommendation Concerning Plea of Guilty (Doc.

#43) from United States Magistrate Judge William A. Knox. Defendant McFalls appeared

before Magistrate Judge Knox on August 10, 2009 and entered a plea of guilty to Count I of the

indictment filed on November 20, 2008. Accordingly, it is hereby

        ORDERED that the plea of guilty is accepted and defendant Tina Louise McFalls is

adjudged guilty. It is further

        ORDERED that a presentence investigation report be prepared regarding defendant

McFalls.

                                              /s/ Scott O. Wright
                                            SCOTT O. WRIGHT
                                            Senior United States District Judge
Date:    August 27, 2009




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